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 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
11                                           )   Case No.: 21-CR-685-WQH
     UNITED STATES OF AMERICA,               )
12                                           )   United States’ Motions In Limine to:
                                             )
13                                           )   (A)   Preclude Defense Expert Testimony
           vs.                               )   (B)   Admit TECS Records as Business
14 MAYRA PARTIDA DE HERRERA,                 )         and Public Records
                                             )   (C)   Admit Narcotics Evidence Without
15                                           )         Proof of Each Link in Chain of
         Defendant.                          )         Custody
16                                           )   (D)   Admit Government Expert
                                             )         Testimony
17                                           )   (E)   Permit Display of Drugs to Jury
                                             )   (F)   Compel Discovery
                                             )   (G)   Exclude Testifying Witnesses Other
18                                           )         Than the Case Agent
                                             )
19                                           )   Date: June 27, 2022
                                             )   Time: 2:00 p.m.
20                                           )
                                             )   Honorable William Q. Hayes
21                                           )
                                             )
22                                           )
                                             )
23                                           )
                                             )
24
           The Plaintiff, United States of America, by and through its counsel, Randy S.
25
     Grossman, United States Attorney, and Paul E. Benjamin, Assistant United States
26
     Attorney, hereby files its Motions in Limine.
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28
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 1                                                  I.
 2                               STATEMENT OF THE CASE
 3 On February 3, 2021, Defendant was arrested for, and later charged by complaint with,
 4 importing cocaine, in violation of 21 U.S.C. §§ 952 and 960. ECF 1. On March 4, 2021,
 5 Defendant waived indictment and was arraigned on an Information charging the same.
 6 ECF 17. On March 7, 2022, trial was set for June 28, 2022. ECF 25.
 7                                               II.
 8                                  STATEMENT OF FACTS
 9         On November 28, 2021, Defendant drove her car into the United States. She was
10 referred to secondary inspection, where a Z-portal x-ray detected anomalies in the rear
11 doors and a drug sniffing dog alerted to the rear driver side door. Further inspection
12 uncovered packages of cocaine in the rear doors and gas tank.
13                                               III.
14                                         ARGUMENT
15 A.      The Court Should Preclude Any Undisclosed Defense Expert Testimony
16         Pursuant to Federal Rules of Criminal Procedure 16(b) and 26.2, the United States
17 requests that Defendants disclose to the United States all exhibits and documents that either
18 Defendant intends to introduce as evidence in her case-in-chief at trial or that were prepared
19 by a witness whom the Defendant intends to call at trial. Moreover, the United States is
20 entitled to disclosure of written summaries of testimony that Defendants intend to offer
21 under Federal Rules of Evidence 702, 703, or 705 as evidence at trial. The summaries
22 should describe the witnesses’ opinions, the bases and reasons for those opinions, and the
23 witnesses’ qualifications. To date, Defendants have provided no reciprocal discovery, no
24 notice of expert witness, and no reports by expert witnesses. Accordingly, Defendants
25 should not be permitted to introduce any expert testimony.
26 B.      The Court Should Admit TECS Records as Public and Business Records
27         The United States intends to introduce TECS records to show Defendant’s dominion
28 and control of the vehicle and familiarity with it as evidenced by her prior crossings in it.

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 1 These records are admissible as business records under Federal Rule of Evidence 803(6)
 2 and public records under Rule 803(8). Pursuant to Rule 803(6), unless the source of
 3 information or the method of preparation indicates a lack of trustworthiness, the rule
 4 against hearsay does not exclude a record of an act, event, condition, opinion, or diagnosis
 5 if the record was made at or near the time by, or from information transmitted by, someone
 6 with knowledge, the record was kept in the course of a regularly conducted activity of a
 7 business or organization, and making the record was a regular practice of that activity, all
 8 as shown by the testimony of a qualified individual. Pursuant to Rule 803(8), records of a
 9 government office’s activities are admissible. TECS records are such records, in that they
10 document the ordinary activities of the Department of Homeland Security and the DMV.
11 As such, the records are admissible under Rules 803(6) and (8).
12
     C.    The Court Should Not Require Proof of Each Link in the Narcotics Chain of
13
           Custody
14
           The United States intends to introduce evidence of the cocaine found in Defendant’s
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     vehicle. Evidence of these drugs, which were initially seized by CBP officers and later
16
     tested by United States Drug Enforcement Administration (“DEA”) chemist Sylvia Tarin-
17
     Brousseau, is admissible because there is a presumption of regularity in handling by these
18
     public officials and the testimony of these witnesses will show that the drugs have not
19
     changed in a material way since their seizure. See United States v. Harrington, 923 F.2d
20
     1371, 1374 (9th Cir.1991) (“[I]n the absence of any evidence of tampering, a presumption
21
     exists that public officers properly discharge their official duties.”) (internal quotation and
22
     alternation omitted). In establishing chain of custody, the United States is not required to
23
     call all persons who may have come into contact with the piece of evidence. United States
24
     v. Solorio, 669 F.3d 943, 954 (9th Cir. 2012) (“The possibility of a break in the chain of
25
     custody goes only to the weight of the evidence.”) (quoting Harrington, 923 F.2d at 1374).
26
           Here, the drugs seized from Defendant’s vehicle were marked, photographed,
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     secured, and transported in accordance with standard operating procedures. Because it has
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     not changed in a material way and has been properly preserved, the United States should
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 1 not have to prove every link in the chain of custody from the time it was seized through the
 2 time of trial.
 3 D.      The Court Should Admit Expert Testimony by the United States
 4         i.       Introduction
 5         Absent stipulations between the parties, the United States presently intends to call
 6 three expert witnesses in its case-in-chief: DEA senior chemist Sylvia Tarin-Brousseau,
 7 HSI Special Agent Andrew Flood, and automotive expert John Louie. Ms. Tarin-Brousseau
 8 will testify about the tests she performed and her ultimate opinion that the substance found
 9 in Defendant’s vehicle is cocaine. Agent Flood will testify about the wholesale and retail
10 values in Southern California of the cocaine seized in this case. Finally, Mr. Louie will
11 testify as to the time it would take to load and unload the drugs, their effect on the operation
12 of the vehicle, and the lack of evidence of forced entry. Finally, although the United States
13 does not believe it to be expert testimony, the United States also seeks to admit TECS and
14 cellular phone download evidence. The Court should admit expert testimony by these
15 witnesses.
16         ii.      Standard of Admissibility
17         If specialized knowledge will assist the trier-of-fact in understanding the evidence
18 or determining a fact in issue, a qualified expert witness may provide opinion testimony on
19 the issue in question. Fed. R. Evid. 702. Determining whether expert testimony would
20 assist the trier-of-fact in understanding the facts at issue is within the sound discretion of
21 the trial judge. United States v. Alonso, 48 F.3d 1536 (9th Cir. 1995). A district court may
22 consider the Daubert test or any other factors in addressing relevance and reliability
23 concerns regarding expert testimony. See Kumho Tire, 526 U.S. at 149-58 (noting that
24 “there are many different kinds of experts, and many different kinds of expertise,”
25 including experts in drug terms, handwriting analysis, and criminal modus operandi).
26         An expert’s opinion may be based on hearsay or facts not in evidence where the facts
27 or data relied upon are of the type reasonably relied upon by experts in the field. Fed. R.
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 1 Evid. 703. In addition, an expert may provide opinion testimony even if the testimony
 2 embraces an ultimate issue to be decided by the trier-of-fact. Fed. R. Evid. 704.
 3         iii.   Expert Testimony that the Seized Substance is Cocaine
 4         The United States intends to call DEA Forensic Chemist Sylvia Tarin-Brousseau to
 5 testify as to the presence and quantity of cocaine in the packages seized from Defendant’s
 6 vehicle. The United States anticipates that Ms. Tarin-Brousseau will testify about the tests
 7 performed on the substance seized from Defendant, and that these tests indicated the type
 8 and quantity of cocaine. She will base this opinion on her background, education, and
 9 experience, along with her knowledge and use of accepted scientific methods of testing.
10 This testimony bears directly on an element of the charged offense, namely that cocaine is
11 a prohibited drug.
12         iv.    Evidence Regarding Value of the Drugs
13         The United States intends to offer testimony from HSI Special Agent Andrew Flood
14 regarding the wholesale value of cocaine in the United States near the Port of Entry where
15 Defendant was arrested. The Special Agent will also testify regarding the retail or “street”
16 value of cocaine in San Diego County.
17         Testimony regarding the quantity and value of seized drugs is circumstantial
18 evidence of Defendant’s knowledge regarding the drugs found in her vehicle. See
19 United States v. Ramirez, 176 F.3d 1179, 1181 (9th Cir. 1999) (finding it “reasonable to
20 infer that a $37,120 shipment of marijuana would not be entrusted to the driver of the
21 vehicle without the driver’s knowledge”); United States v. Kearney, 560 F.2d 1358, 1369
22 (9th Cir. 1977) (finding street value of narcotics relevant to demonstrate defendant’s
23 knowledge). Knowledge is an essential element of the offense charged. Accordingly, such
24 testimony constitutes a proper area for expert testimony and the Court should admit the
25 proposed evidence.
26       v.     Evidence of the Vehicle’s Condition and the Compartment’s Construction
   and Use
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         The United States intends to offer testimony from John Louie regarding the
28
   condition of the vehicle used in this case. Mr. Louie will testify about the amount of time
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 1 and effort required to put in and remove the drugs, how their presence would impact the
 2 operation of the vehicle, and the lack of forced entry. He will base his opinions on his
 3 decades of experience, training, and education in the automotive field and his personal
 4 inspection of the car.
 5        The fact that the drugs would impair the operation of the vehicle is circumstantial
 6 evidence that a driver or passenger familiar with the car, such as Defendants, would notice
 7 something amiss. Similarly, the lack of forced entry is circumstantial evidence that the car
 8 was not entrusted to an unknowing courier. As such, the Court should allow this expert
 9 testimony.
10        vi.    TECS Records
11        The United States provided Defendant with the TECS border crossing history of
12 Defendant and the vehicle. The United States may seek to introduce these TECS records.
13 Although the United States does not concede that the TECs crossing history in this case
14 qualifies as expert testimony under the Federal Rules of Evidence, out of an abundance of
15 caution the United States moves the Court for admission of such records and how they are
16 created. A Special Agent from HSI will testify regarding the TECS system, what
17 information is recorded, and how to read the print outs from the system.
18        The Ninth Circuit has held that the crossing history of an individual and a vehicle
19 from TECS records is relevant admissible evidence of that individual’s dominion and
20 control of the vehicle, from which knowledge of contraband can be inferred. United States
21 v. Jimenez, 506 Fed. Appx. 576, 578 (9th Cir Jan. 25, 2013) (unpublished); see also United
22 States v. Haro-Portillo, 531 F.2d 962, 963 (9th Cir. 1976) (stating rule that knowledge of
23 contraband contained in vehicle can be inferred from dominion and control over vehicle).
24        Here, the United States intends to call a HSI Special Agent to explain the TECS
25 border crossing records of Defendant and the vehicle in order to prove Defendant’s
26 dominion and control of the vehicle. Such testimony speaks to Defendant’s knowledge of
27 the prohibited drug due to her familiarity with the car. To the extent such records require
28 expert opinion, the United States seeks permission for their admission.

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 1         vii. Cell Phone Download
 2         The United States may also call the case agent or a forensic analyst from HSI
 3 regarding the downloads of Defendant’s cellular phone. The analyst would testify
 4 regarding his or her examination of Defendant’s phone and its contents, including incoming
 5 and outgoing calls during the period shortly before Defendant’s arrest, as well as any
 6 deleted texts or incoming/outgoing calls. The analyst’s testimony directly relates to
 7 whether Defendant knew whether she was transporting drugs, an element of the offense
 8 charged.
 9 E.      The Court Should Allow the Government to Display the Seized Drugs and
10         Packaging to the Jury
11         The United States intends to introduce the 23.92 kilograms of cocaine discovered in
12 Defendant’s vehicle. The United States also intends to introduce the packaging. The
13 evidence is relevant both to proving the substance of the narcotics found in the vehicle and,
14 given the bulk and size of the packages, Defendants’ knowledge of the narcotics. See Fed.
15 R. Evid. 401-403. Accordingly, the Court should allow the United States to admit the
16 seized drugs and packaging as evidence and display it to the jury.
17 F.      The Court Should Compel Defendant to Provide all Discovery
18         As of the date of the preparation of these motions, Defendant has produced no
19 reciprocal discovery. The United States moves for an order requiring Defendant to provide
20 all reciprocal discovery to which the United States is entitled under Rules 16(b) and 26.2.
21 This includes, but is not limited to, the disclosures mandated by Rule 16(b)(2), namely all
22 exhibits and documents that Defendant “intends to introduce as evidence in chief at the
23 trial” and a written summary of the names, anticipated testimony, and bases for opinions
24 of any experts Defendant intends to call at trial under Rules 702, 703, and 705 of the
25 Federal Rules of Evidence.
26 G.      The Court Should Exclude Witnesses Other Than the Case Agent
27         “[A] person whose presence is shown by a party to be essential to the presentation
28 of the party’s cause” should not be ordered excluded from the court during trial. Fed. R.

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 1 Evid. 615; see, e.g., United States v. Valencia-Riascos, 696 F.3d 938, 941-43 (9th Cir.
 2 2012) (finding no abuse of discretion in allowing case agent to remain in courtroom
 3 throughout trial and to sit at prosecution’s table). Here, the case agent is considered by the
 4 United States to be an integral part of the trial team. The United States requests that all
 5 other testifying witnesses be excluded during trial. The United States does not object to a
 6 defense investigator being present.
 7
 8                                              IV.
 9                                       CONCLUSION
10         For the foregoing reasons, the United States respectfully requests that its motions in
11 limine be granted.
12
     Dated:      June 2, 2022                       RANDY S. GROSSMAN
13                                                  Acting United States Attorney
14                                                  s/Paul E. Benjamin
                                                    PAUL E. BENJAMIN
15                                                  Assistant United States Attorney
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